               Case 17-12906-CSS             Doc 813        Filed 10/16/18       Page 1 of 12



                            UNITED STATES BANKRUPTCY COURT
                                 DISTRICT OF DELAWARE

In re:                                                  )        Chapter 11
                                                        )
CHARMING CHARLIE HOLDINGS INC.,                         )        Case No. 17-12906 (CSS)
et al.,1                                                )
                                                        )        Jointly Administered
         Reorganized Debtors.                           )

 PARTIES RECEIVING THIS OBJECTION SHOULD REVIEW EXHIBITS A, B, C, D,
 E, F, G, AND H TO THE PROPOSED ORDER TO DETERMINE IF THEIR CLAIM IS
SUBJECT TO THIS OBJECTION. PARTIES WHOSE CLAIMS ARE LISTED ON THE
 EXHIBITS ATTACHED TO THE PROPOSED ORDER MAY HAVE SUBSTANTIVE
                   RIGHTS AFFECTED BY THIS OBJECTION.

    REORGANIZED DEBTORS’ SIXTH OMNIBUS OBJECTION TO CERTAIN PROOFS
                       OF CLAIM (SUBSTANTIVE)

         The Reorganized Debtors (the “Debtors”) in the above-captioned jointly administered

chapter 11 cases (the “Cases”) file their sixth omnibus objection (the “Objection”) seeking entry

of an order modifying or disallowing and expunging the claims listed on Exhibits A, B, C, D, E,

F, G, and H, which are annexed to the proposed order attached hereto as Exhibit 2 (the

“Proposed Order”). The claims listed on Exhibits A, B, C, D, E, F, G, and H are collectively

referred to as the “Disputed Claims,” and all exhibits are incorporated herein by reference. In

support of this Objection, the Debtors rely on the Declaration of Alvaro Bellon in Support of

Debtors’ Sixth Omnibus Objection to Certain Proofs of Claim (Substantive), attached hereto as

Exhibit 1. In further support of this Objection, the Debtors state as follows:




1
  The Reorganized Debtors in these cases, along with the last four digits of their respective federal taxpayer ID
numbers, are Charming Charlie Canada, LLC (0693); Charming Charlie Holdings Inc. (6139); Charming Charlie
International LLC (5887); Charming Charlie LLC (0263); Charming Charlie Manhattan LLC (7408); Charming
Charlie USA, Inc. (3973); and Poseidon Partners CMS, Inc. (3302). The Debtors’ address is 5999 Savoy Dr.,
Houston, TX 77036.


PHIL1 7308960v.1
              Case 17-12906-CSS            Doc 813       Filed 10/16/18    Page 2 of 12



                                    JURISDICTION AND VENUE

        1.         The United States Bankruptcy Court for the District of Delaware (the “Court”)

has jurisdiction over these Cases and the Objection pursuant to 28 U.S.C. §§ 157 and 1334, the

Amended Standing Order of Reference from the United States District Court for the District of

Delaware dated February 29, 2012, and the Fourth Amended Joint Chapter 11 Plan of

Reorganization of Charming Charlie Holdings Inc. and Its Debtor Affiliates Pursuant to Chapter

11 of the Bankruptcy Code [Docket No. 564] (the “Plan”). This is a core proceeding within the

meaning of 28 U.S.C. § 157(b)(2). Venue of these Cases and Objection in this district is proper

under 28 U.S.C. §§ 1408 and 1409.

        2.         The statutory and legal predicates for the relief requested herein are section 502 of

title 11 of the United States Code (the “Bankruptcy Code”), rules 3007 and 9014 of the Federal

Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), rule 3007-1 of the Local Rules of

Bankruptcy Practice and Procedure of the United States Bankruptcy Court for the District of

Delaware (the “Local Rules”), and the General Order Regarding Applicability of Rule 3007(c) of

the Amended Federal Rules of Bankruptcy Procedure, dated November 27, 2007 (the “Rule

3007(c) General Order”).

        3.         The Debtors consent pursuant to Local Rule 9013-1(f) to the entry of a final order

by the Court in connection with this Objection to the extent that it is later determined that the

Court, absent consent of the parties, cannot enter final orders or judgments in connection

herewith consistent with Article III of the United States Constitution.

                                            BACKGROUND

        4.         On December 11, 2017 (the “Petition Date”), each of the Debtors commenced a

voluntary case under chapter 11 of the Bankruptcy Code. The Debtors were authorized to



                                                     2
PHIL1 7308960v.1
              Case 17-12906-CSS           Doc 813      Filed 10/16/18   Page 3 of 12



continue operating their business and managing their property as debtors in possession pursuant

to sections 1107(a) and 1108 of the Bankruptcy Code.

        5.         On January 19, 2018, each of the Debtors filed their Schedules of Assets and

Liabilities [Docket Nos. 345, 347, 349, 351, 353, 355, 357] (collectively, including any

amendments thereto, the “Schedules”), and on February 16 and 23, 2018, certain of the Debtors

amended their Schedules [Docket Nos. 446, 468].

        6.         On December 13, 2017, the Court entered an order [Docket No. 92] appointing

Rust Consulting/Omni Bankruptcy, which has subsequently changed its name to Omni

Management Group (“Omni”), as notice and claims agent in these Cases. Among other things,

Omni is authorized to receive, maintain, docket, and otherwise administer the proofs of claim

filed in these Cases, and maintain the official claims register for each of the Debtors.

        7.         On January 10, 2018, the Court entered an order [Docket No. 299] (the “Bar Date

Order”) providing that, except as otherwise provided herein, (a) all proofs of claim, including

requests for payment under section 503(b)(9) of the Bankruptcy Code, must be filed so that they

are actually received on or before February 19, 2018 at 5:00 p.m. (prevailing Eastern Time) (the

“General Bar Date”), and (b) all governmental units, as defined by section 101(27) of the

Bankruptcy Code, must file proofs of claim so that they are actually received on or before June

9, 2018 at 5:00 p.m. (prevailing Eastern Time) (the “Government Bar Date”).

        8.         On April 3, 2018, the Court entered an order [Docket No. 584] (the “Confirmation

Order”) confirming the Plan. The effective date of the Plan occurred on April 24, 2018 [Docket

No. 618] (the “Effective Date”). The Confirmation Order established May 24, 2018 (thirty days

after service of notice of the Effective Date of the Plan) as the deadline for filing any




                                                   3
PHIL1 7308960v.1
              Case 17-12906-CSS           Doc 813       Filed 10/16/18   Page 4 of 12



Administrative Claims (the “Administrative Claims Bar Date,” and collectively with the General

Bar Date and the Government Bar Date, the “Bar Dates”).

        9.         Notice of the Bar Dates was provided by mail and publication in accordance with

the procedures outlined in the applicable orders.

        10.        Pursuant to the Confirmation Order, the claims objection bar date was 180 days

after the Effective Date, or October 22, 2018. On September 11, 2018, the Court entered an

order [Docket No. 790] extending the claims objection bar date to January 31, 2019.

        11.        The Debtors and their advisors have reviewed and reconciled the proofs of claim

with the Debtors’ books and records to determine the validity of the asserted claims. This

reconciliation process includes identifying particular categories of claims that may be asserted

for disallowance and expungement. The reconciliation process also involves reviewing each

claim identified as potentially objectionable and all supporting information and documentation

provided therewith and making reasonable efforts to research the validity of such claim. To

avoid possible double recovery or otherwise improper recovery by claimants, the Debtors are

filing this Objection and reserve the right to file additional omnibus objections.

                                       RELIEF REQUESTED

        12.        The Debtors seek entry of the Proposed Order, pursuant to section 502(b) of the

Bankruptcy Code, Bankruptcy Rules 3007 and 9014, and Local Rule 3007-1, modifying or

disallowing and expunging the claims indicated on Exhibits A, B, C, D, E, F, G, and H to the

Proposed Order.

                          CLAIMS OBJECTIONS—BASIS FOR RELIEF

        13.        When asserting a proof of claim against an estate, a claimant must allege facts

that, if true, would support a finding that the debtor is legally liable to the claimant. In re



                                                    4
PHIL1 7308960v.1
              Case 17-12906-CSS            Doc 813      Filed 10/16/18    Page 5 of 12



Allegheny Int’l, Inc., 954 F.2d 167, 173 (3d Cir. 1992). Where the claimant alleges sufficient

facts to support its claim, its claim is afforded prima facie validity. See id. An objecting party

may overcome the prima facie validity by “refut[ing] at least one of the allegations that is

essential to the claim’s legal sufficiency.” Id. at 173–74. Once the objecting party produces

such evidence, the burden shifts back to the claimant to prove the validity of his claim by a

preponderance of the evidence. See id. at 174. “The burden of persuasion is always on the

claimant.” Id. (citation omitted).

        14.        The Debtors object to the following eight categories of claims:

A.      Satisfied and Modified Amount Claims

        15.        The Disputed Claims identified in the column titled “Claim Number” on Exhibit

A to the Proposed Order (the “Satisfied and Modified Amount Claims”) are claims that require a

reduction in the amount asserted. For each of the claims listed on Exhibit A to the Proposed

Order, the Debtors reviewed their books and records as well as the agreement(s) between

applicable Debtors and the claimant, and determined that the amount owed was less than the

amount asserted by the claimant. Additionally, the Debtors have determined that the Satisfied

and Modified Amount Claims were paid in full according to these agreements. Failure to

disallow and expunge the Satisfied and Modified Amount Claims would result in the applicable

claimant receiving an unwarranted recovery against the Debtors’ estates to the detriment of other

creditors in these Cases.

B.      Modified Amount Claims

        16.        The Disputed Claims identified in the column titled “Claim Number” on Exhibit

B to the Proposed Order (the “Modified Amount Claims”) are claims that the Debtors have

determined require a reduction or other modification in terms of the amount asserted. As set



                                                    5
PHIL1 7308960v.1
              Case 17-12906-CSS         Doc 813     Filed 10/16/18   Page 6 of 12



forth in the Bellon Declaration, the Debtors have reviewed each of the claims listed on Exhibit B

to the Proposed Order and compared them against the Debtors’ books and records. As described

in the column titled “Reason for Modification” on Exhibit B to the Proposed Order, after

conducting the above-described review and analysis of the Modified Amount Claims, the

Debtors have determined that the amount of the claims should be adjusted as set forth under the

column titled “Modified Claim Amount” on Exhibit B to the Proposed Order. Failure to reduce,

or otherwise adjust, the Modified Amount Claims will result in the applicable claimants

receiving an unwarranted recovery against the Debtors’ estates, to the detriment of other

creditors in these Cases.      Accordingly, the Debtors request entry of the Proposed Order

modifying the Modified Amount Claims, as identified on Exhibit B to the Proposed Order.

C.      Cross-Debtor Duplicate Claims

        17.        The Disputed Claims identified in the column titled “Duplicate Claim to Be

Disallowed” on Exhibit C to the Proposed Order (the “Cross-Debtor Duplicate Claims”) are

duplicative of the proofs of claim identified in the column titled “Remaining Claim Number” on

Exhibit C to the Proposed Order (the “Remaining Claims”). The Cross-Debtor Duplicate Claims

are claims that were filed against the wrong debtor and that seek an amount identical to a claim

filed against the proper debtor by or on behalf of the same claimant. Failure to disallow and

expunge the Cross-Debtor Duplicate Claims on Exhibit C to the Proposed Order could result in

the applicable claimants receiving multiple recoveries against the Debtors’ estates, to the

detriment of other creditors in these Cases. Moreover, elimination of the Cross-Debtor Duplicate

Claims will enable the Debtors to maintain a more accurate claims register. The holders of the

Cross-Debtor Duplicate Claims will not be prejudiced by the expungement of the Cross-Debtor

Duplicate Claims, because they will retain their Remaining Claims against the Debtors.



                                                6
PHIL1 7308960v.1
               Case 17-12906-CSS         Doc 813      Filed 10/16/18     Page 7 of 12



Accordingly, the Debtors request entry of the Proposed Order disallowing and expunging the

Cross-Debtor Duplicate Claims, as identified on Exhibit C to the Proposed Order.

D.       Reclassified Priority Claims

         18.       The Disputed Claims identified in the column titled “Claim Number” on Exhibit

D to the Proposed Order (the “Reclassified Priority Claims”) are claims that assert, but are not

entitled to, priority under section 507 of the Bankruptcy Code. As set forth in the Bellon

Declaration, the Debtors have reviewed each of the claims listed on Exhibit D to the Proposed

Order, compared them against the Debtors’ books and records, and analyzed them in relation to

the Bankruptcy Code’s priority provisions. As described in the column titled “Reason for

Reclassification” on Exhibit D to the Proposed Order, after conducting the above-described

review and analysis of the Reclassified Priority Claims, the Debtors have determined that the

classification of all or a portion of the Reclassified Priority Claims should be adjusted as set forth

under the column “Modified Classification Status,” as set forth on Exhibit D to the Proposed

Order.

E.       Reclassified Secured Claim

         19.       The Disputed Claims identified in the column titled “Claim Number” on Exhibit

E to the Proposed Order (the “Reclassified Secured Claims”) are claims that assert, but are not

entitled to, secured status under section 506 of the Bankruptcy Code. As set forth in the Bellon

Declaration, the Debtors have reviewed each of the claims listed on Exhibit E to the Proposed

Order, and compared them against the Debtors’ books and records. As described in the column

titled “Reason for Reclassification” on Exhibit E to the Proposed Order, after conducting the

above-described review and analysis of the Reclassified Secured Claims, the Debtors have

determined that the classification of all or a portion of the Reclassified Secured Claims should be



                                                  7
PHIL1 7308960v.1
              Case 17-12906-CSS           Doc 813     Filed 10/16/18    Page 8 of 12



adjusted as set forth under the column “Modified Classification Status,” as set forth on Exhibit E

to the Proposed Order.

F.      Deferred Landlord Claims

        20.        The Disputed Claims identified in the column titled “Claim Number” on Exhibit F

to the Proposed Order (the “Deferred Landlord Claims”) are claims where the applicable

landlord claimant agreed to defer payment of an agreed upon amount, and for which the Debtors

are not yet obligated to pay. The Plan provides that “each Holder of an Allowed General

Administrative Claim will be paid the full amount of such Allowed Administrative Claim in

Cash . . . on the Effective Date or as soon as reasonably practicable thereafter or, if not then due,

when such Allowed General Administrative Claim is due or as soon as reasonably practicable

thereafter.” Plan 14 (emphasis added). See also Raleigh v. Ill. Dep’t of Revenue, 530 U.S. 15,

20 (2000) (“The ‘basic federal rule’ in bankruptcy is that state law governs the substance of

claim, . . . Congress having ‘generally left the determination of property rights in the assets of a

bankruptcy’s estate to state law.’” (quoting Butner v. United States, 440 U.S. 48, 57 (1979)).

The Debtors reviewed each of the claims listed on Exhibit F to the Proposed Order and compared

them against the Debtors’ books and records and the written modifications to the applicable

leases. The Debtors have determined that the Deferred Landlord Claims set forth claims for

rents that, by written agreement between the Debtors and applicable landlord claimant, are for an

agreed upon amount and are not yet due, and which will be paid pursuant to the terms of the

lease modifications.       Failure to disallow the Deferred Landlord Claims will result in the

claimants receiving a premature and/or unwarranted recovery against the Debtors’ estates, to the

detriment of other creditors in these Cases. Accordingly, each of the Deferred Landlord Claims




                                                  8
PHIL1 7308960v.1
              Case 17-12906-CSS          Doc 813     Filed 10/16/18   Page 9 of 12



should be disallowed as an administrative claim at this time and paid in accordance with the

agreements between the Debtors and the applicable landlords.

G.      Deferred Tax Claims

        21.        The Disputed Claims identified in the column titled “Claim Number” on Exhibit

G to the Proposed Order (the “Deferred Tax Claims”) are claims for estimated 2018 personal

property taxes, 2018 sale and use taxes, unemployment or workers’ compensation taxes or

premiums and federal and state income taxes that the Debtors are not yet obligated to pay.

Allowed Priority Tax Claims that are not due and owing on or before the Effective Date are paid

as they become “due and payable under applicable non-bankruptcy law in the ordinary course of

business.” Plan at 16. See also Raleigh, 530 U.S. at 20 (“The ‘basic federal rule’ in bankruptcy

is that state law governs the substance of claim, . . . Congress having ‘generally left the

determination of property rights in the assets of a bankruptcy’s estate to state law.’” (quoting

Butner, 440 U.S. at 57). The Debtors reviewed each of the claims listed on Exhibit G to the

Proposed Order and compared them against the Debtors’ books and records. The Debtors have

determined that the Deferred Tax Claims set forth a claim for estimated taxes that are due in the

ordinary course of business in each calendar year or subject to a not yet filed tax return. The

Debtors seek to pay each Deferred Tax Claim in the ordinary course of business and to preserve

any and all rights to dispute the valuation of the asserted amount or any and all credits,

deductions, exemptions, or other rights. Failure to disallow the Deferred Tax Claims will result

in the claimants receiving a premature and/or unwarranted recovery against the Debtors’ estates,

to the detriment of other creditors in these Cases. Accordingly, each of the Deferred Tax Claims

should be disallowed as a priority claim at this time and paid as they become due and payable

under applicable non-bankruptcy law in the ordinary course of business.



                                                 9
PHIL1 7308960v.1
              Case 17-12906-CSS           Doc 813      Filed 10/16/18   Page 10 of 12



H.      No Liability Claims

        22.        The Disputed Claims identified in the column titled “Claim Number” on Exhibit

H to the Proposed Order (the “No Liability Claims”) are claims for which the Debtors have

determined the Debtors are not liable. After a review of the Debtors’ books and records and each

of the Disputed Claims along with all documentation and information submitted therewith, and

after reasonable research as to the validity of the claim, the Debtors have determined that there is

no balance owing with respect to the No Liability Claims. Failure to disallow and expunge the

No Liability Claims would result in the applicable claimant receiving an unwarranted recovery

against the Debtors’ estates to the detriment of other creditors in these Cases.

        23.        For the reasons discussed above, on the exhibits annexed to the Proposed Order

and in the Bellon Declaration, the (a) Satisfied and Modified Amount Claims, (b) Modified

Amount Claims, (c) Cross-Debtor Duplicate Claims, (d) Reclassified Priority Claims, (e)

Reclassified Secured Claims, (f) Deferred Landlord Claims, (g) Deferred Tax Claims, and (h) No

Liability Claims addressed in this Objection should be disallowed or recharacterized, as

applicable.

                               SEPARATE CONTESTED MATTERS

        24.        To the extent that a response is filed regarding any Disputed Claim listed in the

Objection, and the Debtors are unable to resolve the response, each such claim, and the objection

by the Debtors to each such claim asserted herein, shall constitute a separate contested matter as

contemplated by Bankruptcy Rule 9014. Any order entered by the Court regarding the Objection

shall be deemed a separate order with respect to each claim.




                                                  10
PHIL1 7308960v.1
              Case 17-12906-CSS           Doc 813        Filed 10/16/18   Page 11 of 12



                                    RESERVATION OF RIGHTS

        25.        The Debtors hereby reserve the right to object in the future to any of the proofs of

claim listed in this Objection or on the exhibits attached hereto on any grounds, and to amend,

modify, and/or supplement this Objection, including, without limitation, to object to amended or

newly filed claims or to the portions of any Disputed Claims that are not entitled to priority or

that claimants sought other treatment. Separate notice and hearing will be scheduled for any

such objection.

                           COMPLIANCE WITH LOCAL RULE 3007-1

        26.        To the best of the Debtors’ knowledge and belief, this Objection and the related

exhibits annexed to the Proposed Order comply with Local Rule 3007-1 and the Rule 3007(c)

General Order. To the extent that this Objection does not comply in all respects with the

requirements of Local Rule 3007-1 or the Rule 3007(c) General Order, the Debtors believe such

deviations are not material and respectfully request that any such requirement be waived.

                                                NOTICE

        27.        Notice of this Objection has been provided to: (a) the U.S. Trustee; (b) each

holder of a Disputed Claim that is the subject of this Objection; and (c) all persons and entities

that have filed a request for service of the filings in these Cases pursuant to Bankruptcy Rule

2002. A copy of this Objection has been made available on the website of the Debtors’ notice

and claims agent, Omni, at http://www.omnimgt.com/charmingcharlie/. In light of the nature of

the relief requested herein, the Debtors submit that no other or further notice is necessary.




                                                    11
PHIL1 7308960v.1
              Case 17-12906-CSS        Doc 813       Filed 10/16/18   Page 12 of 12



        WHEREFORE, the Debtors respectfully request that the Court enter the Proposed Order,

and grant such other and further relief as this Court deems just and proper.

Dated: October 16, 2018                          /s/ Michael W. Yurkewicz
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                                                 Michael W. Yurkewicz (DE Bar No. 4165)
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                                                12
PHIL1 7308960v.1
